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             EXHIBIT C

                     (Email)
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Cloyd, Justin

From:                               Lou Occhicone <locchicone@chickensoupforthesoul.com>
Sent:                               Friday, May 31, 2024 1:57 PM
To:                                 Giaimo, Christopher J.; William Rouhana
Cc:                                 David Allen; Djordjevic, Gregory C.; George Latzo; Philippe Guelton (Crackle.com); Jeff
                                    Jopa; Amanda Edwards; Katherine Dolan
Subject:                            [EXT] Re: EG America Demand Letter


Hi Chris:

I hope this email finds you well.

We are close to securing new financing and ask for a little more time so we can finalize.

We truly appreciate EG America’s patience and understanding.

Best,

Lou

---
Lou Occhicone
SVP, Business Affairs & Distribution
Chicken Soup for the Soul Entertainment
Office: 203.861.4000




From: Giaimo, Christopher J. <christopher.giaimo@squirepb.com>
Date: Friday, May 31, 2024 at 1:47 PM
To: Lou Occhicone <locchicone@chickensoupforthesoul.com>, William Rouhana
<wrouhana@chickensoupforthesoul.com>
Cc: David Allen <David.Allen@eg-america.com>, Djordjevic, Gregory C.
<gregory.djordjevic@squirepb.com>, George Latzo <GLatzo@redbox.com>, Philippe Guelton
(Crackle.com) <Philippe_Guelton@crackle.com>, Jeff Jopa <Jjopa@redbox.com>, Amanda Edwards
<amanda@chickensoupforthesoul.com>, Katherine Dolan <kdolan@chickensoupforthesoul.com>
Subject: RE: EG America Demand Letter

Dear Mr. Occhicone,

We have not received any further response to the demand letter. Unless we hear otherwise, we will assume that
no resolution is forthcoming and will proceed accordingly.

Regards,

Chris




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                      Christopher J. Giaimo
                      Partner
                      Squire Patton Boggs (US) LLP
                      2550 M Street, NW
                      Washington, DC 20037
                      T +1 202 457 6461
                      O +1 202 457 6000
                      F +1 202 457 6315
                      M +1 443 254 5774
                      christopher.giaimo@squirepb.com | squirepattonboggs.com
                      Find Us: Twitter | LinkedIn | Facebook | Instagram




From: Lou Occhicone <locchicone@chickensoupforthesoul.com>
Sent: Friday, May 17, 2024 12:20 PM
To: Giaimo, Christopher J. <christopher.giaimo@squirepb.com>; William Rouhana
<wrouhana@chickensoupforthesoul.com>
Cc: David Allen <David.Allen@eg-america.com>; Djordjevic, Gregory C. <gregory.djordjevic@squirepb.com>; George
Latzo <GLatzo@redbox.com>; Philippe Guelton (Crackle.com) <Philippe_Guelton@crackle.com>; Jeff Jopa
<Jjopa@redbox.com>; Amanda Edwards <amanda@chickensoupforthesoul.com>; Katherine Dolan
<kdolan@chickensoupforthesoul.com>
Subject: [EXT] Re: EG America Demand Letter

Dear Mr. Giaimo:

I hope this emails finds you well.

I am confirming receipt of attached.

We will review and follow-up shortly.

Best,

Lou

---
Lou Occhicone
SVP, Business Affairs & Distribution
Chicken Soup for the Soul Entertainment
Office: 203.861.4000




From: Giaimo, Christopher J. <christopher.giaimo@squirepb.com>
Date: Thursday, May 16, 2024 at 4:49 PM
To: William Rouhana <wrouhana@chickensoupforthesoul.com>, Lou Occhicone
<locchicone@chickensoupforthesoul.com>
Cc: David Allen <David.Allen@eg-america.com>, Djordjevic, Gregory C.
<gregory.djordjevic@squirepb.com>
Subject: EG America Demand Letter



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Dear Messrs. Rouhana and Occhicone,

I have attached a demand letter on behalf of EG Retail (America), LLC.

Your immediate attention to this matter is recommended.

Regards,

Chris

                     Christopher J. Giaimo
                     Partner
                     Squire Patton Boggs (US) LLP
                     2550 M Street, NW
                     Washington, DC 20037
                     T +1 202 457 6461
                     O +1 202 457 6000
                     F +1 202 457 6315
                     M +1 443 254 5774
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                     Find Us: Twitter | LinkedIn | Facebook | Instagram




Over 40 Offices across 4 Continents

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